                                         UNITED STATES DISTRICT COURT
                  Case 2:05-cr-00125-MCE
                                   EASTERNDocument 282
                                          DISTRICT OF   Filed 04/16/08 Page 1 of 1
                                                      CALIFORNIA

UNITED STATES OF AMERICA                                 )
                                                         )        No. 2:05-cr-00125-MCE
                 v.                                      )
                                                         )
DARNELL FOSTER                                           )

                                APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       () Ad Prosequendum                                (X) Ad Testificandum

Name of Detainee:        NAJEEULLAH HAKEEM WHEELER
Detained at (custodian): San Quentin State Prison
Detainee is:             a.)   () charged in this district by: () Indictment () Information () Complaint
                                  charging detainee with: __________________________________________________
                or       b.)   (X) a witness not otherwise available by ordinary process of the Court

Detainee will:            a.)   (X) return to the custody of detaining facility upon termination of proceedings
                 or       b.)   () be retained in federal custody until final disposition of federal charges, as a sentence is
                                   currently being served at the detaining facility

        Appearance is necessary before the Honorable Morrison C. England, Jr., U.S. District Judge, on May 8, 2008, at
10:00 a.m. in the Eastern District of California.

                                Signature:                        /s/ SAMANTHA S. SPANGLER
                                Printed Name & Phone No:          SAMANTHA S. SPANGLER, 916-554-2792
                                Attorney of Record for:           United States of America

                                            WRIT OF HABEAS CORPUS
                          () Ad Prosequendum                  (X) Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, on May 8, 2008, at 10:00 a.m., and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.

 Dated: April 15, 2008

                                             ________________________________
                                             MORRISON C. ENGLAND, JR.
                                             UNITED STATES DISTRICT JUDGE
_________________________________________________________________________________________________
Please provide the following, if known:

AKA(s) (if applicable):         Najee Wheeler, Najeeulah Hakee                                      Male
Booking or CDC #:               V25741                                                              DOB: 1983
Facility Address:               San Quentin, CA 94964                                               Race: M
                                _______________________________________                             FBI #: 414189XB4
Facility Phone:                 415-454-1460
Currently Incarcerated For:      ______________________________________

_________________________________________________________________________________________________
                                                  RETURN OF SERVICE

Executed on      ____________________________                     By: ___________________________________________________
                                                                      (Signature)
